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                            UNITED STATES DISTRICT COURT                                     FILED
                          SOUTHERN DISTRICT OF CALIFORNIA
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UNITED STATES OF AMERICA,                               CASE NO. 13CR2852 JAR BY                                   DEPUTY



                                   Plaintiff,

                   vs.                                  JUDGMENT OF DISMISSAL
JOSE RODOLFO PARRA QUINONEZ,

                                 Defendant.


            IT APPEARING that the defendant is now entitled to be discharged for the reason that:

     an indictment has been filed in another case against the defendant and the Court has granted the motion
     of the Government for dismissal of this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

lL   the Court has granted the motion of the Government for dismissal, without prejudice; or

     the Court has granted the motion of the defendant for a judgment of acquittal; or

     a jury has been waived, and the Court has found the defendant not guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

lL   of the offense(s) as charged in the Information:

     POSSESSION WITH INTENT TO DISTRIBUTE METHAMPHETAMINE; AIDING AND

     ABETTING

             IT IS THEREFORE ADJUDGED that the dett;;;g:<Iant



DATED: 10/8/13
                                                          Karen . Crawford
                                                          U.S. Magistrate Judge
